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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

CAPAL BEASLEY,
       Plaintiff,
v.                                                       Case No. 1:19-cv-38-AW-GRJ
CENTRAL FLORIDA CONTRACTORS
SERVICES, INC., a Florida for-profit
corporation, and BOBBY J. POWELL,
JR., an individual,
     Defendants.
_______________________________/
ORDER DIRECTING PARTIES TO CONFER, DENYING LEAVE TO FILE
 REPLY, AND DIRECTING CLERK TO SET TELEPHONIC HEARING

       This is an FLSA case, and the parties have what appears to be a relatively

straightforward discovery dispute. That dispute has led to seven filings to date: Plaintiff

first moved to compel responses to certain discovery requests. ECF No. 13. Defendants

responded, noting that Plaintiff’s motion did not include a certificate of conference—or

any indication that Plaintiff sought to resolve the dispute before filing his motion. ECF No.

18. Plaintiff then filed a notice that he was striking or withdrawing his original motion.

ECF No. 19. Plaintiff next filed a new motion to compel. ECF No. 20. Defendants

responded to this new motion, still contending that Plaintiff did not fully comply with his

meet-and-confer obligation. ECF No. 22. Plaintiff then moved for leave to file a reply, ECF

No. 23, and Defendants filed a response opposing that motion, ECF No. 24.




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         The motion to compel, ECF No. 20, explains that Plaintiff was a concrete pump

operator. Plaintiff contends that he was not paid what he was owed, and he contends that

after he raised FLSA issues through his counsel, Defendants retaliated against him by not

scheduling him for more jobs. Attached to the motion is an email exchange Plaintiff had

with Bobby Powell, Jr., one of the Defendants. ECF No. 20 at 11. In the email, Plaintiff

wrote that shortly after his counsel sent a letter regarding overtime wages, Plaintiff

“received a call from the company saying there would be no work for me on Tuesday

(February 26).” ECF No. 20 at 11. Plaintiff also wrote that he received two more calls

during the next two days telling him that there would be no work for each following day.

ECF No. 20 at 11. Mr. Powell responded to the email saying that it had “rained for the last

couple of days” and “[b]ecause of this we have not had a job for you to do.” ECF No. 20

at 11.

         In his motion to compel, Plaintiff presented this argument:

         Whether the Defendants truly denied Plaintiff work assignments due to
         weather after he complained about not receiving overtime, or instead, are
         offering a pretextual reason, is a key issue in this case. If other workers were
         working on days when the Plaintiff was not (due to “weather”), then it calls
         into question whether the Defendants retaliated against the Plaintiff.

ECF No. 20 at 2. Plaintiff thus sought discovery on this issue. Specifically, Plaintiff served

an interrogatory (Number 7) that sought a list of all employees, their contact information,

the days each employee worked during the disputed eight-day period, and details regarding

any worker who “did not perform work on a calendar day during the [disputed period] due

to rain or weather-related issues.” ECF No. 20 at 3. Defendants objected to the scope to the




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extent it sought information about “all persons,” but they provided information as to “pump

operators like Plaintiff.” ECF No. 20 at 4 (quoting interrogatory response). Defendants

specifically stated in their response that “[w]eather or rain prediction did not impact the

number of jobs available” on any day during the disputed period other than February 27,

2019. ECF No. 20 at 4 (quoting interrogatory response). Defendants also produced work

schedules for the disputed period, purportedly showing who worked each of the relevant

days. ECF No. 22 at 8. Defendants reported that they do not “record the reasons the pump

truck operators are off the schedule on any particular workday unless the operator requests

time off for personal or other reasons and other than as noted in the Daily Schedule Detailed

Reports.” ECF No. 22 at 8 n.1.

       Based on the filings, it appears that (i) Defendants have acknowledged that only one

day during the disputed period included weather-related scheduling issues, and (ii)

Defendants have produced documents showing which pump operators worked which days

during the disputed period. Although not entirely clear, it appears the only outstanding

issues are (i) whether Defendants must provide contact information for employees other

than pump operators,* (ii) whether Defendants must provide time and pay information for

pump operators who worked during the disputed period, and (iii) attorney’s fees related to

the various filings to date.

       With meaningful cooperation, it is likely that the parties could resolve these

remaining issues (and any others related to the discovery dispute).


       *
         Notably, Plaintiff contends that “[m]ost of [Defendant CFCS’s] employees
are/were pump operators like the Plaintiff.” ECF No. 20 at 5.


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      It is therefore ORDERED:

      1.     Counsel for the parties shall promptly confer by telephone or in person (i.e.,

not just by email) regarding the discovery motion and any open issues.

      2.     The Clerk shall terminate ECF No. 13 (the withdrawn motion).

      3.     The motion for leave to file a reply, ECF No. 23, is DENIED.

      4.     The Clerk shall set a telephonic hearing for a time no earlier than August 13,

2019, and no later than August 20, 2019. At the hearing, the Court will hear argument on

any remaining issues, and Plaintiff may present any argument that would have been

included in his proposed reply.

      5.     If the parties resolve their disputes, then they shall file a joint notice no later

than 24 hours before the telephonic hearing, and the Court will cancel the hearing.

      SO ORDERED on August 6, 2019.

                                           s/ Allen Winsor
                                           United States District Judge




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